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UNITED STATES DISTRICT COURT                                                                   12/23/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On December 18, 2020, the Defendant filed her reply to the Government’s opposition to

her renewed application for bail. In accordance with this Court’s December 7, 2020 Order, see

Dkt. No. 89, she filed these materials under seal and proposed narrowly tailored redactions on

those materials. The Government did not file any opposition to the Defendant’s proposed

redactions.

       The Court will adopt the Defendant’s proposed redactions after applying the three-part

test articulated by the Second Circuit in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d

Cir. 2006). Under this test, the Court must: (i) determine whether the documents in question are

“judicial documents;” (ii) assess the weight of the common law presumption of access to the

materials; and (iii) balance competing considerations against the presumption of access. Id. at

119–20. “Such countervailing factors include but are not limited to ‘the danger of impairing law

enforcement or judicial efficiency’ and ‘the privacy interests of those resisting disclosure.’” Id.

at 120 (quoting United States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1050 (2d Cir. 1995)).

       The proposed redactions satisfy this test. The Court finds that the Defendant’s

submissions are “relevant to the performance of the judicial function and useful in the judicial

process,” thereby qualifying as a “judicial document” for purposes of the first element of the


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Lugosch test. United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995). And the

Court also finds that the common law presumption of access attaches. Id. at 146; see also Nixon

v. Warner Commc’ns, Inc., 435 U.S. 589, 602 (1978). As with the redactions to her renewed

motion for bail, the proposed redactions here are narrowly tailored to serve substantial interests,

including, most importantly, third parties’ personal privacy interests. See Under Seal v. Under

Seal, 273 F. Supp. 3d 460, 467 (S.D.N.Y. 2017). See also Dkt. No. 95.

       The Defendant is hereby ORDERED to docket the redacted documents and

corresponding exhibits by no later than December 23, 2020.

       SO ORDERED.

Dated: December 23, 2020                         __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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